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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
                v.                               )
                                                 )        Criminal No. 1:18-mj-00146-RMM-1
VINCENT GALARZA                                  )
                                                 )
                Defendant                        )

                                             ORDER

        Upon consideration of the Consent Motion to Continue Preliminary Hearing/Detention

Hearing, the Court herby finds that the ends of justice will be served by excluding time under the

Speedy Trial Act, and that those ends of justice outweigh the Defendant’s interests and the

interest of the public in a speedy trial, it is hereby,

           ORDERED, that Defendant’s Motion is GRANTED; and it is hereby,

           FURTHER ORDERED, that the preliminary hearing in this matter, currently

 scheduled for July 15, 2020, will be continued until August 27, 2020;

           FURTHER ORDERED, that Mr. Galarza having been advised of his rights under the

 Speedy Trial Act and having agreed to waive those rights for the time period between July 15,

 2020, and the next scheduled hearing date, the speedy trial clock shall be tolled for that time

 period.



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DATE                                             ROBIN M. MERIWEATHER
                                                 United States Magistrate Judge
